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     Representing the United States of America
 9
                    UNITED STATES DISTRICT COURT
10
                         DISTRICT OF NEVADA
11
     UNITED STATES OF AMERICA,
12                                               2:16-CR-00046-GMN-PAL
                  Plaintiff,
13                                               GOVERNMENT’S    UNOPPOSED
           v.                                    MOTION FOR CLARIFICATION
14                                               REGARDING PRETRIAL MOTION
     CLIVEN D. BUNDY,                            RESPONSE DEADLINE
15
                  Defendant.
16

17
     CERTIFICATION: This Motion is timely filed.
18
           The United States, by and through the undersigned, respectfully submits its
19
     Unopposed Motion for Clarification Regarding Motion Response Deadline.
20
           On September 29, 2016, United States Magistrate Judge Leen presided over
21
     a hearing regarding Joel Hansel, defendant Cliven D. Bundy’s counsel of record’s
22
     Motion to Withdraw. ECF No. 693. In the course of this hearing, the Court granted
23

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 1   Mr. Bundy a two-week extension of time to file pretrial motions. Id. The original

 2   motion deadline, October 3, 2016, was accordingly extended to October 17, 2016.

 3             On October 21, 2016, Judge Leen presided over a confirmation of counsel

 4   hearing regarding Cliven D. Bundy’s new counsel. ECF No. 906. During this

     hearing, the government moved for an extension of time to file responses to Cliven
 5

 6
     Bundy’s pretrial motions filed by the October 17, 2016 deadline. Id.; see also ECF
 7
     Nos. 889, 891 and 892. The Court granted the government’s request. However, the
 8
     Minutes of Proceeding reflect only that the government requested an extension of
 9
     time to file a response to the defense counsel’s Motion to Withdraw as Attorney
10
     (ECF No. 675) and that an extension had been granted, moving the deadline to
11
     November 4, 2016. ECF No. 906.
12
               Government counsel consulted with Bret Whipple, counsel of record or Cliven
13
     Bundy, who confirmed that his understanding was in accord with the government’s
14
     regarding the Court’s ruling granting the government a two-week extension to file
15
     its responses to Cliven Bundy’s motion. Defense counsel further indicated that he
16
     does not oppose the instant motion.
17
     /////
18

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 1         WHEREFORE, the government respectfully requests that the Court enter

 2   an order clarifying that the government’s response deadline to Cliven Bundy’s

 3   motions to dismiss is November 16, 2016. This date reflects a two-week extension

 4   reciprocal to the two-week extension of time that Mr. Bundy was granted to file his

     pretrial motions. Attached hereto is a proposed order granting the government’s
 5

 6
     motion and setting the government’s response dates, accordingly.
 7
           DATED this 1st day of November, 2016.
 8

 9                                          Respectfully,

10                                          DANIEL G. BOGDEN
                                            United States Attorney
11
                                                  //s//
12                                          ______________________________
                                            STEVEN W. MYHRE
13                                          NICHOLAS D. DICKINSON
                                            Assistant United States Attorneys
14                                          NADIA J. AHMED
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 1                              CERTIFICATE OF SERVICE

 2          I certify that I am an employee of the United States Attorney’s Office. A copy

 3   of    the   foregoing   GOVERNMENT’S           UNOPPOSED          MOTION       FOR

 4   CLARIFICATION           REGARDING          PRETRIAL       MOTION       RESPONSE

     DEADLINE was served upon counsel of record, via Electronic Case Filing (ECF).
 5

 6
            DATED this 1st day of November, 2016.
 7

 8
                                                   /s/ Steven W. Myhre
 9                                           ______________________________
                                             STEVEN W. MYHRE
10                                           Assistant United State Attorney

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 1                  UNITED STATES DISTRICT COURT
 2                       DISTRICT OF NEVADA

 3   UNITED STATES OF AMERICA,
                                                2:16-CR-00046-GMN-PAL
 4                Plaintiff,
                                                ORDER
 5         v.
 6   CLIVEN D. BUNDY,
 7
                  Defendant.
 8

 9         After considering Government’s Unopposed Motion for Clarification

10   Regarding Pretrial Motion Response Deadline, the Court hereby finds:

11         1.    That the Court extended Cliven Bundy’s pretrial motion deadline

12         from October 3, 2016, to October 17, 2016.

13         2.    That the Court extended the government’s response to Cliven

14         Bundy’s pretrial motion deadline from November 2, 2016, by two weeks,

15         pursuant to the government’s request in open court on October 21, 2016.

16         THEREFORE, IT IS HEREBY ORDERED that the Government’s Unopposed
17   Motion for Clarification is GRANTED and that the government’s deadline to
18
     respond to defendant Cliven D. Bundy’s Pretrial Motions ECF Nos. 889, 891 and
19
     892 is November 16, 2016.
20
           DATED this     3rd    day of November, 2016.
21

22                                          ________________________________________
                                            UNITED STATES MAGISTRATE JUDGE
23

24
                                           5
